Case 1:23-mj-00143-PK Document1 Filed 02/14/23 Page 1 of 7 PagelD #: 1

WK:ILB
F. #2022R00508

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

we eee eee eee eee eee eee ee eee xX
UNITED STATES OF AMERICA COMPLAINT
- against - (21 U.S.C. § 841(a)(1))
JONATAN “JONATHAN” SANTIAGO
and ESMERALDA VALLE,
Defendants.

EASTERN DISTRICT OF NEW YORK, SS:

MEGHAN AYERS, being duly sworn, deposes and states that she is a Postal
Inspector with the United States Postal Inspection Service, currently assigned to the New York
Division Contraband Interdiction and Investigations Team (“C12”), duly appointed according
to law and acting as such.

On or about February 13, 2023, within the Eastern District of New York and
elsewhere, the defendants JONATAN “JONATHAN” SANTIAGO (“SANTIAGO”) and
ESMERALDA VALLE (“VALLE”) did knowingly and intentionally possess with intent to
distribute a controlled substance, which offense involved a substance containing cocaine, a

Schedule II controlled substance.
(Title 21, United States Code, Section 841(a)(1); Title 18, United States Code,

Sections 2 and 3551 et seq.)
Case 1:23-mj-00143-PK Document1 Filed 02/14/23 Page 2 of 7 PagelD #: 2

The source of your deponent’s information and the grounds for her belief are as
follows:!

1. I] am a Postal Inspector with the United States Postal Inspection Service
(“USPIS”) and have been for approximately nine years. In that capacity, I have been involved
in the investigation of numerous cases involving narcotics trafficking, specifically narcotics
trafficking by use of the United States mails. I am familiar with the facts and circumstances set
forth below from my participation in the investigation; my review of the investigative file,
including the defendant’s criminal history record; and from reports of other law enforcement
officers involved in the investigation.

2. C12, along with other law enforcement partners, has been investigating a
narcotics trafficking operation wherein United States Postal Service (“USPS”) packages
containing cocaine are being shipped from various locations in Puerto Rico to New York and
Connecticut. The cocaine is typically concealed in baby diapers and miscellaneous clothing
items and all the packages seem to bear similar handwriting on the handwritten shipping labels.
Multiple packages are usually sent at a time to one of several locations: 6034 55" Street #2L,
Maspeth, NY 11378 (the “Santiago and Valle Home”), an address in New Britain,
Connecticut, and one or more of multiple USPS post office boxes and other commercial mail
receiving agency receptacles rented by the defendants in Brooklyn and Queens (the “Drop
Locations”). The packages sent to the Santiago and Valle Home are usually addressed to
names, which appear to be fake, other than those of the defendants. By contrast, the packages

sent to the Drop Locations are usually addressed to one of the defendants.

 

l Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
Case 1:23-mj-00143-PK Document1 Filed 02/14/23 Page 3 of 7 PagelD #: 3

3. On or about February 13, 2023, a white United States Priority Mail Parcel,
number 9505 5111 0381 3042 6528 81, which is approximately 12 inches by 14 inches by 3
inches and weighs approximately 4.75 pounds, arrived at the United States Post Office in
Maspeth, Queens (‘“Parcel-1”). Parcel-] bears the return address: “Norma Velez, Urb Corchado
Calle, Trinitaria #276 Isabela, P.R. 00662” and the recipient address: “Keishla Velez, 6034 55th

Street #2L, Maspeth, NY 11378.” A photograph of Parcel-1 is below:

 

4, A search of public and law enforcement databases found that the
purported mailer, Norma Velez, is not associated with the listed return address and the purported
recipient, Keishla Velez, in not associated with the listed recipient address. Based on my
training and experience, I know that people engaged in narcotics transactions often use fictitious
names to avoid detection by law enforcement.

5, Parcel-1 was identified as suspicious due to its size, weight, originating
zip code, the purported mailer not being associated with the listed return address, the purported
recipient not being associated with the listed recipient address and the history of such packages
with what appears to be the same handwriting being sent to the Santiago and Valle Home and the
Drop Locations. Specifically, approximately six such packages were interdicted between June

2, 2021 and November 28, 2022, searched pursuant to search warrants and found to contain
Case 1:23-mj-00143-PK Document1 Filed 02/14/23 Page 4 of 7 PagelD #: 4

cocaine. Additionally, the handwritten shipping label on Parcel-1 appears to be written in the
same handwriting as the prior interdicted packages that were found to contain cocaine.

6. Also on February 13, 2023, a second white United States Priority Mail
Parcel, number 9505 5102 6124 3042 6506 97, which is approximately 12 inches by 14
inches by 3 inches and weighs approximately 4.625 pounds, bearing return address “Marilyn
Santiago, Los Rotarios #19, Isabela, P.R. 00662”, and addressed to “Esmeralda Valle, 4470
21st Street, Box #126, Long Island City, NY 11101” (“Parcel-2”) arrived at the USPS Post

Office in Long Island City, Queens. A photograph of Parcel-2 is below:

imma iis
ee
RIORITY® =

     
 

 

P
NITED STATES AIL
| posta SERVICE seve 1. “
_
L
ar usPs.cO

visit US.

aes CMF
VeDen FREE SUPru

7. A search of public and law enforcement databases found that the
purported mailer, Marilyn Santiago, is not associated with the listed return address.

8. Parcel-2 was identified as suspicious due to its size, weight, originating
zip code, the purported mailer not being associated with the listed return address, VALLE
being listed as the recipient, and the history of such packages addressed with what appears to
be the same handwriting being sent to the Drop Locations being interdicted between June 2,

2021 and November 28, 2022, searched pursuant to search warrants and found to contain
to

Case 1:23-mj-00143-PK Document1 Filed 02/14/23 Page 5 of 7 PagelD #: 5

cocaine. Additionally, the handwritten shipping label appears to be written in the same
handwriting as the handwriting on Parcel-1 and on the interdicted packages referenced in
paragraph five, above, that were found to contain cocaine.

2. On or about February 13, 2023, at approximately 1:00 p.m., Parcel-1 was
delivered to that apartment building in which the Santiago and Valle Home is located and taken
into the Santiago and Valle Home. Law enforcement observed SANTIAGO subsequently
leaving the Santiago and Valle Home and driving to City Mailroom, a commercial mail receiving
agency located at 4470 21st Street, in Long Island City, New York that rents the equivalent of
Post Office boxes at which customers may receive packages from various commercial mail
agencies including USPS, United Parcel Service, FedEx and DHL.

10. At approximately 6:30 p.m., law enforcement video recorded as
SANTIAGO entered the mailbox store, obtained Parcel-2 that was sent from Puerto Rico to a
mailbox rented by VALLE in January 2023 and bearing all the same features as Parcel-1,
including the handwritten shipping label with handwriting that appears to be the same as that on
previous shipments of cocaine. SANTIAGO returned to his vehicle with Parcel-2, then drove to
pick up VALLE with Parcel-2 in his vehicle.

11. Atapproximately 7:00 p.m., law enforcement observed VALLE enter
SANTIAGO’s car. Once SANTIAGO picked up VALLE, law enforcement stopped the car
with SANTIAGO, VALLE and Parcel-2 in it near 37-09 30th Avenue in Astoria, Queens.
New York City Police Department Task Force Officer Katherine Gill, a certified narcotics
detection canine handler, exposed Parcel-2 to her trained canine “Mulk” for exterior
inspection and review. Mulk reacted to the package by barking and sitting down in front of

it. Police Officer Gill informed me that the canine’s reaction to the package indicated a
t=

Case 1:23-mj-00143-PK Document1 Filed 02/14/23 Page 6 of 7 PagelD #: 6

positive alert for the presence of controlled substances.”

12. SANTIAGO and VALLE thereafter both executed written consent
forms authorizing law enforcement to search the Santiago and Valle Home. Inside the
Santiago and Valle Home, law enforcement recovered Parcel-1. Police Officer Gill brought
Mulk to conduct an exterior inspection of Parcel-1. Mulk reacted to the package by barking
and sitting down in front of it, once again indicating a positive alert for the presence of
controlled substances.

13. During the consent search of the Santiago and Valle Home, law
enforcement additionally recovered an opened white envelope from the floor of a closet in
the bedroom. That envelope contained a rectangular object wrapped in black tape, carbon
paper, clear cling wrap and clear food saver. Inside the package was a white, powdery
substance weighing approximately 1.1 kilograms, or approximately 2.4 pounds, that field

tested positive for cocaine.

 

2 Based on conversations with Officer Gill, I have learned that Mulk is a Dutch
Shepherd who was originally certified as a narcotics-detection canine with the New York
Police Training Council in or about May 2021. Mulk was certified to detect the odors of
cocaine, crack-cocaine, methamphetamines, MDMA, heroin, and black tar heroin. Since
then, Mulk has received significant additional training in narcotics detection, and has been
regularly and successfully used by law enforcement to detect narcotics, including during the
inspection of packages, suitcases, automobiles, and residences. Before Mulk was first
certified, and during the training that he has received since then, he has been exposed to
numerous different objects, some of which have contained narcotics, and others of which
have not. Mulk has been trained to differentiate between those categories of objects, and to
give his law enforcement handlers a positive indication (i.e., to “alert”) if he detects narcotics
odors. Mulk has generally proven reliable in the field.
Case 1:23-mj-00143-PK Document1 Filed 02/14/23 Page 7 of 7 PagelD #: 7

WHEREFORE, your deponent respectfully requests that the defendants
JONATAN “JONATHAN” SANTIAGO and ESMERALDA VALLE be dealt with according to

law.

CLA

MEGHAN AYERS
Postal Inspector
United States Postal Inspection Service

Sworn to before me this
14th day of February, 2023

HEAO BLE PEGGY KUO
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
